






	











NUMBER 13-08-00475-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


____________________________________________________________

										


ANGELA HERNANDEZ,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.


____________________________________________________________


On Appeal from the 28th District Court


of Nueces County, Texas.


____________________________________________________________


MEMORANDUM OPINION



Before Chief Justice Valdez and Justices Rodriguez and Benavides 


Memorandum Opinion Per Curiam



	Appellant, Angela Hernandez, by and through her attorney, has filed a motion to
dismiss her appeal because she no longer desires to prosecute it.  See Tex. R. App. P.
42.2(a).  Without passing on the merits of the case, we grant the motion to dismiss
pursuant to Texas Rule of Appellate Procedure 42.2(a) and DISMISS the appeal.  Having
dismissed the appeal at appellant's request, no motion for rehearing will be entertained,
and our mandate will issue forthwith.

								PER CURIAM


Do not publish.  See Tex. R. App. P. 47.2(b).  

Memorandum Opinion delivered and 

filed this 25th day of September, 2008.


